Case 1:24-mj-00145-MAU Document1 Filed 04/26/24 Page 1of1
AO 442 (Rev. LLIL) Arrest Warrant

UNITED STATES DISTRICT COURT

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Eastern District of Virginia Case: 1:24-mj-00145

Assigned to: Judge Upadhyaya, Moxila A.
Assign Date: 4/26/2024
United States of America

Description: ARREST RULE(5)
v.

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Francisco Antonio Campos ) Case No, #03CR60 =
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Defendant we = ¥E “
OP 1, t
ARREST WARRANT a6 " §
2 — 5
BO ae
To: Any authorized law enforcement officer .

YOU ARE COMMANDED to arrest and bring before a United States magistrate judge without unnecessary delay
(name of person to be arrested) — Francisco Antonio Campos

?
who is accused of an offense or violation based on the following document filed with the court:

O Indictment O Superseding Indictment

O Information © Superseding Information © Complaint
© Probation Violation Petition

W@W Supervised Release Violation Petition C Violation Notice O Order of the Court

This offense is briefly described as follows:

T.21:846 - CONSPIRACY TO POSSESS WITH INTENT TO DISTRIBUTE AND TO DISTRIBUTE COCAINE AND
MARIJUANA (Count One, et al )

Date: 01/23/2024 | (I Sudan’

Issuing officer's signature

City and state: _ Norfolk, VA Arenda L. Wright Allen, U.S. District Judge

Printed name and title

Return

This warrant was received on (daey ©) | 93 i 2°24 _, and the person was arrested on (date) O4/ 24/024
at (city and state) _ Wusn. ingen be oo

Date: O4/2b/aeaq_ Wil bol

Arresting afficer’s “signature

- Der Sta Umar - Sum

Printed name and title

